Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 1 of 22




        Exhibit A
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 2 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 3 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 4 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 5 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 6 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 7 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 8 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 9 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 10 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 11 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 12 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 13 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 14 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 15 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 16 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 17 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 18 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 19 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 20 of 22
Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 21 of 22
                          Case 4:20-cv-07677-DMR Document 1-1 Filed 10/30/20 Page 22 of 22
                                                                                                                                                   POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                              FOR COURT USE ONLY
    Christian Schreiber, 245597
    Olivier Schreiber & Chao LLP
                                                                                                                       ELECTRONICALLY
    201 Filbert St., Suite 201
    San Francisco, CA 94133                                                                                                   FILED
          TELEPHONE NO.: (415) 484-0980                                                                               Superior Court of California,
                                                                                                                       County of San Francisco
     ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                                                                     10/20/2020
                                                                                                                       Clerk of the Court
 Superior Court of California, San Francisco County                                                                       BY: YOLANDA TABO-RAMIREZ
 400 McAllister Street                                                                                                              Deputy Clerk

 San Francisco, CA 94102
      PLAINTIFF/PETITIONER:              Casey Bailey, et al.                                         CASE NUMBER:


                                                                                                      CGC-20-586596
 DEFENDANT/RESPONDENT:                   Maplebear, Inc., d/b/a Instacart; et al.
                                                                                                      Ref. No. or File No.:

                                    PROOF OF SERVICE OF SUMMONS                                       156 - Bailey
1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.
2. I served copies of:
                                                                                                                                   BY FAX
Complaint, Civil Case Cover Sheet, Summons, Notice of Acknowledgment of Receipt-Civil, Notice to Plaintiff, Alternative Dispute
Resolution (ADR) Information Package


3. a. Party served: Maplebear, Inc., d/b/a Instacart
    b. Person Served: Cogency Global Inc. - Mai Houa Yang - Person Authorized to Accept Service of Process

4. Address where the party was served:              1325 J St., Suite 1550
                                                    Sacramento, CA 95814
5. I served the party
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 10/01/2020                (2) at (time): 2:55PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




      d. on behalf of:

      Maplebear, Inc., d/b/a Instacart
      under: CCP 416.10 (corporation)
7. Person who served papers
   a. Name:        Brandon Lee Ortiz
   b. Address:     One Legal - P-000618-Sonoma
                                 1400 North McDowell Blvd, Ste 300
                                 Petaluma, CA 94954

  c. Telephone number: 415-491-0606
  d. The fee for service was: $ 105.00
  e I am:
       (3) registered California process server.
             (i) Employee or independent contractor.
             (ii) Registration No.: 2012-37
            (iii) County: Sacramento
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date:     10/02/2020


                    Brandon Lee Ortiz
                     (NAME OF PERSON WHO SERVED PAPERS)                                                       (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                 Code of Civil Procedure, § 417.10
Judicial Council of California POS-010
        [Rev. Jan 1, 2007]                              PROOF OF SERVICE OF SUMMONS
                                                                                                                    OL# 15266743
